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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LV, et al.,

                    Plaintiffs,
                                            No. 03-CV-9917 (LAP)
-against-
                                                     ORDER
NEW YORK CITY DEPARTMENT OF
EDUCATION, et al.,

                    Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

     The Clerk of the Court shall grant ECF access to David

Irwin (david@thru-ed.com, 646-489-7078)--the Court-appointed

Special Master in this matter--so that he may receive automatic

ECF notifications regarding filings in this case.

SO ORDERED.

Dated:      May 26, 2021
            New York, New York


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                            LORETTA A. PRESKA
                            Senior United States District Judge




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